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                             UNITED STATES DISTRICT COURT


                                DISTRICT OF SOUTH DAKOTA

                                      CENTRAL DIVISION



  UNITED STATES OF AMERICA,                                       3:12-CR-30004-RAL

                        Plaintiff,
                                                        OPINION AND ORDER ON MOTION
         vs.                                             FOR COMPASSIONATE RELEASE

 ROBERT LOUIS PRUE,JR.,

                        Defendant.                                     -




        A federal grand jury indicted Robert Louis Prue, Jr. (Prue) on four counts of aggravated

 sexual abuse in violation of 18 U.S.C. §§ 1153, 2241(c) and 2246(3); two counts of sexual abuse

 of a minor in violation of 18 U.S.C. §§ 1153, 2243(a), and 2246(2); two counts of abusive sexual

 contact in violation of 18 U.S.C. §§ 1153, 2244(a)(3), and 2246(3); and four counts of child abuse

 in violation of SDCL §§ 26-10-1 and 26-1-1. Doc. 3. On February 6, 2013,Prue appeared before

 this Court and entered a guilty plea to one count of abusive sexual contact and one count ofsexual

 abuse of a minor. Doc. 43. On April 8, 2013, this Court held a sentencing hearing in Prue's case

 and imposed a custody sentence of 180 months on the sexual abuse count and 24 months on the

 abusive sexual contact count, to be served consecutively, and five years of supervised release on

 each count,to be served concurrently. Docs.47 at 2; 50 at 2—3. At that time,the remaining counts

 in the indictment were dismissed. Docs. 47 at 2; 50 at 1.

        Prue is currently incarcerated at Petersburg Medium Federal Correctional Institution

 (Petersburg Medium FCl) and has filed a pro se motion for compassionate release, citing his age

 and health conditions in combination with the global COVlD-19 pandemic as justification. Doc.

 58. The Federal Public Defender Office for the Districts of North and South Dakota (FPD) has

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 submitted a supplement to Prue's motion, and the Government has responded in opposition. Docs.

 64, 68. FPD has replied. Doc. 69. This Court has considered Prue's motion, and for the reasons

 stated herein, denies his motion at this time.

    I.      Background

         Prue's conviction resulted from a sexual assault he perpetrated on a minor victim who was

 under his custody, care, and control at the time. Doc. 39 at 3; PSR at HI 8, 15, 75. The facts

 relating to the crimes are disturbing, and they had severe, lasting effects on the victim. PSR at H 9.

         For approximately seven years, Prue was in a romantic relationship with Maria Janis

 (Janis). PSR at H 8. During their relationship, Prue and Janis lived in a home with Janis's five

 children, T.S., G.J.(victim), M.J., S.R., and S.J. PSR at H 8. Prue was a parental figure to G.J.

 and her siblings. Doc. 39 at 3. Prue began sexually abusing G.J. while the family lived in

 Washington State around 2008. PSR at H 8. In late Spring of 2011, the family moved to a tribal

 housing unit in Milk's Camp, South Dakota. Doc. 39 at 1; PSR at H 8. Prue's abuse of G.J.

 continued. PSR at 18.

         When the sexual assaults in South Dakota occurred, between June 22,2011,and September

 22, 2011, Prue was 34 years old and G.J. was 12. Doc. 39 at 2. Prue primarily sexually abused

 G.J. in the shower after asking G.J. to shower with him. PSR at H 8. Prue touched G.J.'s genitals

 and breast in a sexual manner and asked her to give him oral sex and engage in intercourse. Doc.

 39 at 1-2; PSR at H 8. G.J. denied Prue's request for oral sex. PSR at H 8. While G.J. was in the

 shower with Prue, Prue touched her vagina and/or buttocks with his fingers and mouth. PSR at H

 8. Prue also attempted to have G.J. sit on his lap while in the shower. PSR at H 8.

         Under the sentencing guidelines, Prue's total offense level for this offense was 26 and Prue

 was in criminal history category 11. PSRatHH33,52,80. This meant that Prue's advisory guideline
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 range was 70 months to 87 months custody. PSR at T| 80. However, under the plea agreement, the

 parties agreed to jointly recommend a 17-year sentence. Doc. 38 at 5. IfPrue had been convicted

 ofthe aggravated sexual abuse of the minor S.R. charged in Count I of the indictment, he would

 have faced a mandatory minimum 30-year sentence. Doc. 1 at 1; 18 U.S.C. § 2241(c). On the

 counts where Prue pleaded guilty, the maximum term of imprisonment was 15 years in custody

 for the sexual abuse ofa minor and 2 years in custody for the abusive sexual contact. PSR at T| 79.

 This Court held a sentencing hearing in Prue's case on April 8, 2013. Doc. 47. After hearing

 argument from both parties as to the appropriate sentence and hearing from T.K.S., a victim on a

 different count in the case, and Prue himself, this Court sentenced Prue to 204 months custody

 followed by a five-year term of supervised release. Docs. 47 at 2; 50 at 2-3. Prue has been in

 custody since February 16, 2012, and is currently incarcerated at Petersburg Medium PCI. Docs.

 17; 63 at 21: see also Find an Inmate, Federal Bureau ofPrisons, https://www.bop.gov/inmateloc/

 (last visited Sept. 14, 2020).

        In early 2020, a novel coronavirus, COVID-19, quickly spread across the United States

 and infiltrated correctional institutions. As a new virus, COVID-19 has presented somewhat of a

 mystery to medical professionals and society in general. Some people can contract the virus and

 be completely asymptomatic, while other people develop complications and die from the illness.

 The Centers for Disease Control and Prevention(CDC)have identified certain underlying health

 conditions that put individuals at higher risk for a severe form of the illness if they contract the

 disease. Among those at higher risk are individuals with cancer, chronic kidney disease, obesity,

 serious heart conditions, sickle cell disease, and Type 2 diabetes. See People with Certain Medical

 Conditions, Centers for Disease Control and Prevention, https;//www.cdc.gov/coronavirus/2019-

 ncov/need-extra-precautions/people-with-medical-
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 conditions.html?CDC_AA_refVal=https%3A%2F%2Fwww.cdc.gov%2Fcoronavirus%2F2019-

 ncov%2Fneed-extra-precautions%2Fgroups-at-higher-risk.html (last visited Sept. 8, 2020).

          Prue currently suffers from the following medical conditions: asthma, a seizure disorder,

 and obesity. Doc. 60 at 1-2, 27, 317. He has now filed a motion for compassionate release with

 this Court based on those conditions and the increased susceptibility to complications to COVID-

 19 he faces if he contracts the disease. Doc. 58.

    II.      Legal Standard

          Generally, a "court may not modify a term of imprisonment once it has been imposed,"

 except in a few, narrow circumstances. 18 U.S.C. § 3582(c). The compassionate release statute,

 as amended by the First Step Act of 2018, provides one ofthose narrow avenues through which a

 sentence may be modified. The compassionate release statute provides in pertinent part that:

                (A)the court, upon motion ofthe Director of the Bureau ofPrisons,
                   or upon motion of the defendant after the defendant has fully
                   exhausted all administrative rights to appeal a failure of the
                   Bureau ofPrisons to bring a motion on the defendant's behalfor
                   the lapse of 30 days from the receipt of such a request by the
                   warden of the defendant's facility, whichever is earlier, may
                   reduce the term ofimprisonment... after considering the factors
                   set forth in section 3553(a)to the extent that they are applicable,
                     if it finds that—


                    (i)     extraordinary and compelling reasons warrant such a
                            reduction; ...

                     and that such a reduction is consistent with applicable policy
                     statements issued by the Sentencing Commission.

 18 U.S.C. § 3582(c)(1)(A). "The district court has broad discretion in determining whether

 proffered circumstances warrant a reduction in sentence." United States v. Loggins. 966 F.3d 891,

 (8th Cir. 2020). Ultimately, the defendant bears the burden of establishing that a sentence

 reduction is warranted. See United States v. Jones. 836 F.3d 896, 899 (8th Cir. 2016).
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    in.      Discussion


        Prue submitted a request for compassionate release to the warden of his institution on June

 25, 2020, outlining some of his medical conditions and his possible release plan. Doc. 63 at 2-4.

 Prue's request was submitted more than thirty days ago, and the BOP has not submitted a motion

 for compassionate release on Prue's behalf. Therefore, this Court may entertain Prue's motion

 directly.

        In determining whether compassionate release is justified, this Court considers the

 sentencing factors in 18 U.S.C. § 3553(a), determines whether "extraordinary and compelling

 reasons" warrant a sentence reduction, and evaluates whether a sentence reduction is consistent

 with the Sentencing Commission's applicable policy statements.       18 U.S.C. § 3582(c); United

 States V. Moore. 963 F.3d 725, 727 (8th Cir. 2020). The sentencing factors found in 18 U.S.C.

 § 3553(a) instruct this Court to consider the applicable guidelines issued by the Sentencing

 Commission; "the nature and circumstances of the offense and the history and characteristics of

 the defendant;" the need for the sentence "to reflect the seriousness of the offense, to promote

 respect for the law, and to provide just punishment for the offense;" to adequately deter criminal

 conduct,to protect the public; and "to provide the defendant with needed educational or vocational

 training, medical care, or other correctional treatment in the most effective manner." 18 U.S.C. §

 35.53(a). This Court also should consider the need to avoid unwarranted sentence disparities

 among similarly situated defendants. 18 U.S.C. § 3553(a)(6).

        In conducting its analysis on compassionate release motions, this Court begins by

 considering the applicable § 3553(a) sentencing factors. Prue's guideline range of 70-87 months

 did not reflect the seriousness of all of what Prue had done. The nature and circumstances ofthe

 offense are detailed above and are disturbing. The maximum term ofimprisonment was 15 years
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 for the sexual abuse ofa minor count and 2 years for the abusive sexual contact count. The parties,

 well aware ofthe multiple counts and multiple young victims, negotiated and stipulated to a 204-

 month custody sentence. A sentence ofthe maximum term ofimprisonment like the one imposed

 was necessary for several reasons. First, a lengthy sentence adequately reflected the seriousness

 of the offense and provided just punishment. Second, the type of criminal conduct at issue here

 requires a powerful deterrent, and the 204-month sentence was designed to protect the public and

 to provide Prue with sex offender treatment in an effective manner. Doc. 50 at 2;^Doc. 60 at

 338. Such a sentence also was required to protect the public and serve the interests of punishment.

 Overall, the 204-month sentence was sufficient to achieve the § 3553(a) sentencing factors, but it

 was not greater than necessary.

        Prue has now served approximately 50% of his full sentence and approximately 58% of his

 "statutory term." Doc.60 at 341. Since he entered BOP custody,Prue, now age 43, has completed

 education courses, including victim impact group and home ownership. Docs. 60 at 338;63 at 30.

 He has only one discipline report and appears to have had consistent and productive work details.

 Docs. 60 at 337; 63 at 31.

        This Court next determines whether "extraordinary and compelling" reasons exist to

 modify a sentence. Congress has directed the Sentencing Commission to describe and provide

 examples of what constitutes "extraordinary and compelling" reasons with respect to the

 compassionate release statute. 28 U.S.C. 994(t). The Sentencing Commission provided such

 examples in the commentary to United States Sentencing Guideline 1B1.13. Those reasons

 include the defendant's terminal illness or debilitating physical or mental condition, the

 defendant's age in combination with the proportion of his sentence served, and certain family

 circumstances. U.S.S.G. § 1B1.13 cmt. n.l(A)-(C). The Sentencing Commission also included a
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 "catch all" provision which allows one to find "extraordinary and compelling" reasons other than

 those specifically listed "[a]s determined by the Director of the Bureau of Prisons." U.S.S.G. §

 IB 1.13 cmt. n.l(D). However, since the First Step Act was passed, the Sentencing Commission

 has not updated its policy statement because it has not had a quorum. As a result, district courts

 have questioned whether the policy statement still applies and whether courts may consider other

 "extraordinary and compelling" reasons under the "catch all" provision. See United States v.

 Mondaca. No. 89-CR-0655 DMS,2020 WL 1029024, at *3 (S.D. Gal. Mar. 3, 2020)(discussing

 the discord among district courts); United States v. Spears. No.98-0208-SI-22,2019 WL 5190877,

 at *3(D. Or. Oct. 15, 2019)(same); United States v. Brown. 411 F. Supp. 3d 446, 449-50 (S.D.

 Iowa 2019)(same). Many district courts have determined that the discretion given to the Director

 ofthe BOP by the Sentencing Commission extends to federal judges and allows them to consider

 "extraordinary and compelling reason[s] other than" those specifically described. United States v.

 Condon. No. 3:12-cr-00091-10, 2020 WL 2115807, at *3(D.N.D. May 4, 2020)(listing cases that

 found federal judges may apply the "catch all" provision of U.S.S.G. § 1B1.13 comment note

 1(D)).

          Prue argues primarily that he qualifies for release under the "catch all" provision of

 U.S.S.G. § 1B1.13 comment note 1(D), but argues in the alternative that he would qualify under

 comment note l(A)(ii). Comment note 1(A) provides in relevant part that "extraordinary and

 compelling" reasons may exist if the defendant is "suffering from a serious physieal or medical

 condition... that substantially diminishes the ability of the defendant to provide self-care within

 the environment of a correctional facility and fi"om which he or she is not expected to recover."

 U.S.S.G. § 1B1.13 cmt. n.l(A)(ii). However,Prue does not claim that it is his serious physical or

 medical conditions that makes him unable to provide self-care in his correctional facility. Rather,
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 he argues that the conditions ofconfinement, a factor not contemplated by the comment note, make

 it difficult or impossible to practice the type of self-care recommended by the CDC. Therefore,

 Prue cannot establish "extraordinary and compelling" reasons tojustify a sentence reduction under

 comment note l(A)(ii).

        This Court next considers Prue's circumstances under the "catch all provision." Prue

 argues that his underlying health conditions combined with the increased risks he faces if he

 contracts COVID-19 establish an "extraordinary and compelling" reason other than those

 specifically identified to justify a sentence reduction. The COVID-19 pandemic has impacted this

 country and its economy in extraordinary ways. However,"the mere existence of COYID-19 in

 society and the possibility that it may spread to a particular prison alone cannot independently

 justify compassionate release, especially considering BOP's statutory role, and its extensive and

 professional efforts to curtail the virus's spread." United States v. Raia. 954 F.3d 594, 597 (3d

 Cir. 2020).

        Petersburg Medium FCI currently has one active inmate infection of COVID-19 and one

 active COVID-19 case among the facility's staff; two inmates have recovered from the illness, and

 the facility has reported no deaths. See COVID-19, Coronavirus, Federal Bureau of Prisons

 https://www.bop.gov/coronavirus/ (last visited Sept. 14, 2020). The question becomes whether

 Prue's medical conditions—asthma, a seizure disorder, and obesity—combined with the

 conditions of confinement during the COVID-19 pandemic justify compassionate release.

        It is true that the CDC has recognized that individuals suffering from obesity and who have

 a body mass index of 30 or higher have an increased risk of developing a severe illness if they

 contract COVID-19. Because COVID-19 is a new disease and so much is still unknown about


 how it affects individuals, this Court cannot say to what extent Prue's life is threatened by the


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 existence of COVID-19 in Petersburg Medium FCI, especially considering the precautions put in

 place by the BOP to protect him and his fellow inmates. See BOP Implementing Modified

 Operations, Federal Bureau ofPrisons, https://www.bop.gov/coronavirus/covidl9_status.jsp (last

 visited Sept. 8, 2020).

        Asthma (moderate to severe) is a risk factor for more severe complications of a COVID-

 19 infection, but the extent ofthose risks is yet unknown, particularly if Prue's condition is well-

 controlled. The CDC has not recognized Prue's seizure disorder as a significant risk factor for

 contracting or developing a severe illness from COVID-19. Additionally, based on the medical

 records,Prue's asthma and seizure disorder appear to be stable, managed, and well-controlled with

 his medication and chronic care visits. Doc. 60 at 3, 140, 233, 285-87, 316.

        Additionally, Prue contends he is more susceptible to COVID-19 due to his race. Indeed,

 the CDC noted there is evidence that some racial and ethnic minority groups are being

 disproportionately affected by COVID-19. Flealth Equity Considerations and Racial and Ethnic

 Minority Groups, Centers for Disease Control and Prevention, https://www.cdc.gov/

 coronavirus/20I9-ncov/community/health-equity/race-ethnicity.html (last visited Sept. 8, 2020).

 Even so, the CDC attributes this to inequities in social determinants of health such as poverty and

 access to health care. Id Thus, courts have not found race to be a risk factor for COVID-

 19 similar to age or medical condition. See, e.g.. United States v. Leigh-James. No. 3:I5-CR-188

(SRU), 2020 WL 4003566, at *8 (D. Conn. July 15, 2020); United States v. Chambers. No. CR

 18-47, 2020 WL 4260445, at *4(E.D. La. July 24, 2020).

        Prue has served a little over halfof his 204-month sentence for repeatedly sexually abusing

 his girlfriend's 12-year-old daughter while she and her siblings were under his care and custody.

 Prue appears, to his credit, to have worked on improving himself in custody. But the original
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 sentence was chosen with care, considering Prue's and his community's needs and all ofthe other

 applicable sentencing factors. Despite the risks posed by COVID-19, this Court does not find

 "extraordinary and compelling reasons" to justify a sentence modification because such a

 reduction would not be sufficient to achieve the goals of sentencing.

    IV.     Conclusion and Order


        Therefore, it is hereby

        ORDERED that Prue's motion for compassionate release. Doc. 58, is denied.



        DATED this H**" day of September, 2020.
                                              BY THE COURT:




                                              ROBERTO A. LANG!
                                              CHIEF JUDGE




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